       Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 1 of 9


 1   DANIEL SHANLEY (021322)
     Email Address: dshanley@deconsel.com
 2   THOMAS DAVIS, admitted pro hac vice
     Email Address: tdavis~deconsel.com
 3   DeCARLO & SHANLtY,
     a Professional Corporation
 4   533 S. Fremont Avenue, Ninth Floor
     Los Angeles~ California 90071-1706
 5   Telephone (.ll3) 488-4100
     Telecopier (213) 488-4180
 6
     ATTORNEYS FOR DEFENDANTS, CARPENTERS SOUTHWEST
 7   ADMINISTRATIVE CORPORATION and BOARD OF TRUSTEES
     FOR THE CARPENTERS SOUTHWEST TRUSTS
 8
 9                           UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11

12   HKB, INC., an Arizona co_mQration,           2: 16-cv-03799-DJH
     doing_ business as SOUTHWEST
13   INDUSTRIAL RIGGING,
                                                  DEFENDANTS' CONTROVERTING
14                        Plaintiff,              STATEMENT OF FACTS IN
                                                  OPPOSITION TO PLAINTIFF'S
15   v.                                           AMENDED MOTION FOR SUMMARY
                                                  JUDGMENT
16   BOARD OF TRUSTEES FOR THE                    RE: STATUTE OF LIMITATION
     CARPENTERS SOUTHWEST
17   TRUSTS"' erroneously sued as BOARD
     OF TRU~TEES FOR THE
18   SOUTHWEST CARPENTER'S
     SOUTHWEST TRUST; et al
19                        Defendants.
20   CARPENTERS SOUTHWEST
     ADMINISTRATIVE CORPORATION
21   a California non-profit corporation; et ai
22                        Plaintiffs,
23   v.
     H K B Inc., et al
24
                          Defendants.
25

26   Ill
27   Ill
28   Ill
      Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 2 of 9


 1            1.    Plaintiff's Asserted Fact:
 2            "Southwest is a construction-related company that, among other things,
 3   performs maintenance and repair work at the Palo Verde Nuclear Generating
 4   Station just west of Phoenix (the "Power Plant") twice a year for 4-6 weeks at a
 5   time."
 6            Whether the Statement of Fact Is Disputed/Reference to Portion of the
 7   Record Supporting the Defendants' Position:
 8            Defendants currently lack sufficient facts to dispute this assertion and have
 9   asked the court to deny or defer consideration of the Motion pursuant to FRCP
10   56(d) in order to permit Defendants the opportunity to conduct discovery.
11
12            2.    Plaintiff's Asserted Fact:
13            "Southwest had previously used carpenters provided by the Southwest
14   Regional Council of Carpenters (the "Union") to supplement its workforce for the
15   maintenance and repair work at the Power Plant, but Southwest had never been
16   required to sign a long-term contract."
17            Whether the Statement of Fact Is Disputed/Reference to Portion of the
18   Record Supporting the Defendants' Position:
19            Disputed. Pursuant to the relevant collective bargaining agreements, an
20   employee is an individual who performs work covered by any of the collective
21   bargaining agreements; hence, Plaintiffs distinction between union and non-union
22   labor is disputed. Watanabe Decl'n, Ex.s 1 to 3.
23
24            3. Plaintiff's Asserted Fact:
25            "Southwest simply employed the individual Union carpenters on a
26   piecemeal basis, paying the carpenters (and the Funds) for the work actually
27   performed, but having no obligation beyond the temporary work provided at the
28   Power Plant."

                                                 2
      Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 3 of 9


 1         Whether the Statement of Fact Is Disputed/Reference to Portion of the
 2   Record Supporting the Defendants' Position:
 3         Disputed. Pursuant to the relevant collective bargaining agreements, an
 4   employee is an individual who performs work covered by any of the collective
 5   bargaining agreements; hence, Plaintiffs distinction between union and non-union
 6   labor is disputed. Watanabe Decl'n, Ex.s 1 to 3.
 7

 8         4. Plaintiff's Asserted Fact:
 9         "A few years after Southwest first began hiring and paying for services
10   provided by the Union's carpenters, the Funds performed an 'audit' regarding
11   Southwest's payments to the Funds."
12         Whether the Statement of Fact Is Disputed/Reference to Portion of the
13   Record Supporting the Defendants' Position:
14         Disputed. Defendants initiated an audit approximately one year after
15   Plaintiff executed the Memorandum. Watanabe Decl'n, Efl5.
16
17         5. Plaintiff's Asserted Fact:
18         "As a result of the audit, the Funds demanded that Southwest make
19   additional payments in excess of $490,000, for various health-care, training,
20   vacation, and pension funds."
21         Whether the Statement of Fact Is Disputed/Reference to Portion of the
22   Record Supporting the Defendants' Position:
23         Undisputed.
24
25         6. Plaintiff's Asserted Fact:
26         "The Funds' payment demand was not based upon any work performed by
27   the Union's carpenters."
28         Whether the Statement of Fact Is Disputed/Reference to Portion of the

                                              3
      Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 4 of 9


 1   Record Supporting the Defendants' Position:
 2         Disputed. Pursuant to the relevant collective bargaining agreements, an
 3   employee is an individual who performs work covered by any of the collective
 4   bargaining agreements; hence, Plaintiffs distinction between union and non-union
 5   labor is disputed. Watanabe Decl'n, Ex.s 1 to 3.
 6

 7         7. Plaintiff's Asserted Fact:
 8         "The Funds demanded payment solely based upon services performed by
 9   Southwest's own employees."
10         Whether the Statement of Fact Is Disputed/Reference to Portion of the
11   Record Supporting the Defendants' Position:
12         Disputed. Pursuant to the relevant collective bargaining agreements, an
13   employee is an individual who performs work covered by any of the collective
14   bargaining agreements; hence, Plaintiffs distinction between union and non-union
15   labor is disputed. Watanabe Decl'n, Ex.s 1 to 3.
16
17         8. Plaintiff's Asserted Fact:
18         "Southwest's employees are not members of and have no affiliation with
19   the Union."
20         Whether the Statement of Fact Is Disputed/Reference to Portion of the
21   Record Supporting the Defendants' Position:
22         Disputed. Pursuant to the relevant collective bargaining agreements, an
23   employee is an individual who performs work covered by any of the collective
24   bargaining agreements; hence, Plaintiffs distinction between union and non-union
25   labor is disputed. Watanabe Decl'n, Ex.s 1 to 3.
26         Defendants currently lack all facts concerning this assertion and have asked
27   the court to deny or defer consideration of the Motion pursuant to FRCP 56(d) in
28   order to permit Defendants the opportunity to conduct discovery.

                                              4
      Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 5 of 9


 1         9. Plaintiffs Asserted Fact:
 2         "Southwest's employees are not Union members and do not receive Union
 3   benefits."
 4         Whether the Statement of Fact Is Disputed/Reference to Portion of the
 5   Record Supporting the Defendants' Position:
 6         Disputed. Pursuant to the relevant collective bargaining agreements, an
 7   employee is an individual who performs work covered by any of the collective
 8   bargaining agreements; hence, Plaintiffs distinction between union and non-union
 9   labor is disputed. Watanabe Decl 'n, Ex.s 1 to 3.
10         Defendants currently lack all facts concerning this assertion and have asked
11   the court to deny or defer consideration of the Motion pursuant to FRCP 56( d) in
12   order to permit Defendants the opportunity to conduct discovery.
13
14         10. Plaintiff's Asserted Fact:
15         "Southwest paid the Funds for work performed by Union carpenters during
16   the 4-6 weeks that the Southwest performed maintenance work on the·Power
17   Plant, but Southwest never paid the Funds at any other time in the year."
18         Whether the Statement of Fact Is Disputed/Reference to Portion of the
19   Record Supporting the Defendants' Position:
20         Undisputed.
21
22         11. Plaintiff's Asserted Fact:
23         "Southwest never paid the Funds for work performed by Southwest's own
24   employees."
25         Whether the Statement of Fact Is Disputed/Reference to Portion of the
26   Record Supporting the Defendants' Position:
27         Disputed in so far as Plaintiff seeks to draw a distinction between union and
28   non-union labor in that, pursuant to the relevant collective bargaining agreements,

                                               5
      Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 6 of 9


 1   an employee is an individual who performs work covered by any of the collective
 2   bargaining agreements. Watanabe Decl'n, Ex.s 1 to 3. Undisputed in that Plaintiff
 3   has failed to pay the Funds contributions for work performed by employees.
 4
 5         12. Plaintiff's Asserted Fact:
 6         "On October 26, 2015, the Funds sent a representative to Southwest's
 7   corporate office to perform an onsite audit of Southwest's records."
 8         Whether the Statement of Fact Is Disputed/Reference to Portion of the
 9   Record Supporting the Defendants' Position:
10         Undisputed.
11

12         13. Plaintiff's Asserted Fact:
13         "During the on-site audit, the Funds' representative inspected a copy of the
14   Master Control which showed the names of Southwest employees."
15         Whether the Statement of Fact Is Disputed/Reference to Portion of the
16   Record Supporting the Defendants' Position:
17         Undisputed.
18
19         Additional Facts That Establish a Genuine Issue of Material Fact
20         14.    On or about August 22, 2013, Plaintiff entered into a Memorandum
21   Agreement with the SWRCC in order to obtain the services of craftsmen who
22   fulfilled the SWRCC's training programs. Pester Decl'n, Ex. 1.
23
24         15.    One of CSAC's responsibilities is to conduct audits of employers.
25   Watanabe Decl'n, ~5.
26
27         16.   The audit showed that, while Plaintiff agreed to be bound by the
28   terms of the Master Agreements as to all construction work of the types set forth in

                                              6
       Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 7 of 9


 1   the Master Agreements, Plaintiff reneged upon this agreement by employing non-
 2   union employees to complete such work and failing to remit contributions to the
 3   Trust Funds for the this work. Watanabe Decl'n, Cfl6, Ex.s 1 to 3.
 4
 5          17.   Mr. Allen met with a SWRCC representative on multiple occasions at
 6   Plaintiff's offices, represented that he was Manager of Construction (or held a
 7   similar title) and that he had authority to bind Plaintiff to the Memorandum. Pester
 8   Decl'n, ~~3-5.
 9

10          18.   Either around the time of the execution of the Memorandum or within
11   a few months thereafter, a SWRCC representative met with Ms. Ornelas, the
12   Plaintiff's Human Resources Manager, who did not raise any concerns regarding
13   the formation of this agreement, but merely requested some details regarding
14   benefit payments. Beggs Decl'n, ~3, 4.
15
16          19.   Plaintiff filed monthly reports to the Defendants from September
17   20 13 to the middle of 20 16 and made payments pursuant to the terms of the
18   Agreements for months where the Plaintiff used the services ofSWRCC workers.
19   Watanabe Decl'n, Ex. 4.
20
21         20.    Plaintiff provided Defendants with its executed "Declaration on
22   Company Status- C4A Program". Watanabe Decl'n, Cff8, Ex. 5.
23

24         21.    It was only after Defendants' counsel sent a demand letter to
25   Plaintiff's counsel that Plaintiff's counsel, for the first time, asserted that Tom
26   Allen did not have authority to bind Southwest Industrial Rigging to the
27   Memorandum. Shanley Decl'n, Ex.s 1, 2.
28   ///

                                                7
      Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 8 of 9


 1         22.   The audit that CSAC conducted of Plaintiff was initiated pursuant to
 2   CSAC's policy to conduct an audit one year after an employer enters into an
 3   agreement with SWRCC. Watanabe Decl'n, 'ff5.
 4
 5   DATED: April fl._, 2017        DeCARLO & SHANLEY
                                    A Professional Corporation
 6
 7
                                    Thomas Davis
 8                                  Attom~ys for Defendants CARPENTERS
                                    SOUTHWEST ADMINISTRATIVE
 9                                  CORPORATION and BOARD OF TRUSTEES
                                    FOR THE CARPENTERS SOUTHWEST
10                                  TRUSTS
11
12
13
14
15
16
17
18
19
20
21
22
23

24
25

26
27
28

                                             8
            Case 2:16-cv-03799-DJH Document 34 Filed 04/13/17 Page 9 of 9

                             CERTIFICATE OF SERVICE

                      (H K B, Inc., etc., v. Board of Trustees, etc.)
                     (USDC-Arizona Case No. 2:16-cv-03799DJH)


X   I hereby certify that on April 13, 2017, I electronically transmitted the attached
    document, DEFENDANTS' CONTROVERTING STATEMENT OF FACTS IN
    OPPOSITION TO PLAINTIFF'S AMENDED MOTION FOR SUMMARY
    JUDGMENT RE: STATUTE OF LIMITATION, to the Clerk's Office using the
    CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the
    following CM/ECF registrants:

          James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
          Javier Torres - j avier. torres@stinson.com,cynthia. fischer@stinson.com


                Executed on April13, 2017, at Los Angeles, California.


X   I declare that I am employed in the office of a member of the bar of this court at whose
    direction the service was made.



                                          Lucy . ou e-Pasco, Secretary
                                          DeCARLO & SHANLEY,
                                          a Professional Corporation
                                          533 S. Fremont Avenue, Ninth Floor
                                          Los Angeles, California 90071 0
                                          Telephone (213) 488-4100
                                          Telecopier (213) 488-4180
